Case 2:04-cr-20302-.]DB Document 27 Filed 04/26/05 Page 1 of 2 Page|D 40

F|l.".;
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT ()F TENNESSEE

 

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WESTERN DIVISION
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UNITED STATES OF AMERICA, - - OF TN. I‘J:i~.wlPHlS
Plaintiff,
v. No. 04-20302
GRACE LONG,
Defendant.

 

ORDER GRANTING MOTION TO APPOINT NEW COUNSEL

 

Defendant has moved the Court to grant the Motion to Appoint New Counsel for
appeal. The Court finds that Ms. Long is indigent and that counsel for appeal should be

appointed For good cause shown and With no objection from the government the motion

is granted.

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Honorable J. Breen
US DISTRICT COURT

